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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

MICHAEL CARR()LL and MARIAN
CARROLL, husband and Wife,
421 Champion Circle
Troop, PA 18512
Plaintiffs,

VS.

WATERMAN EXCAVATING, INC.,
2 Gavin Avenue
Adams, Massachusetts 01220, and

CECIL LIPSCOMB, JR.,
306 Beaver Street
North Adams, Massachusetts 01247

Defendants.

 

DOCKET: 3217-cv-

 

C()MPLAINT

The Plaintiffs, Michael Carroll and Marian Carroll, husband and Wife,
(cOllectively “Plaintiffs”), by their undersigned counsel, hereby complain of

Defendants, Waterrnan Excavating, Inc, and Cecil Lipscomb, Jr. (collectively

“Defendants”), and in Support thereof aver as follows:

PARTIES
l. Plaintiff Michael Carrcll is an adult and competent individual Who

currently resides at 421 Charnpion Circle, Throop, Lacl<awanna County,

Pennsylvania, 18512.

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2. Plaintiff Marian Carroll is an adult and competent individual Who
currently resides at 421 Champion Circle, Throop, Lackawanna County,
Pennsylvania, 18512.

3. Defendant Waterman Excavating lnc. is a single location business that
is privately owned Which maintains its principle place of business at 2 Gavin
Avenue, Adams, Massachusetts 01220.

4. Defendant Cecil Lipscomb, Jr. resides at 306 Beaver Street, North
Adams, Massachusetts 01247, and Was at all relevant times an employee of
Defendant Waterman Excavating lnc.

JURISDICTION AND VENUE

5. Jurisdiction of this Court is conferred by 28 U.S.C. § l332(a) by virtue
of the parties’ diversity of citizenship and the amount in controversy.

6. Venue is proper in this Court pursuant to 28 U.S.C. § l39l(a)(2).

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

7. On January ll, 2017, Plaintiff Michael Carroll Was employed by the
Pennsylvania State Police and Was acting in his capacity as a Pennsylvania State
Trooper at all times relevant hereto.

8. On January ll, 20l7, at approximately 2:35 a.m., Plaintiff Michael

Carroll Was investigating an automobile crash on Interstate 84, Westbound in

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Dingman Township, Pike County.

9. At the same time and place, the Defendant Cecil Lipscomb Jr. Was
driving a 2007 International Harvester 9400 Tractor owned, rented and/or controlled
by Defendant Waterman Excavating lnc. and Was traveling Westbound on Interstate
84.

lO. At all times relevant hereto, Defendant Waterman Excavating lnc.
acted by and through its various employees, Workmen, servants and/or agents
including, but not limited to Defendant Cecil Lipscomb7 Jr.

ll. At all times relevant hereto, Defendant Cecil Lipscomb, Jr. acted as
employee, Worl<man servant and/or agent of Defendant Waterman Excavating, lnc.

l2. On the aforesaid date and time, Defendant Lipscomb Was operating the
aforesaid tractor trailer unit Within the course and scope of his agency and/or
employment and under the direction and control of Defendant Waterman
Excavating, Inc.

13. At all times relevant hereto, Defendant Waterman Excavating, lnc.
Was deemed to be the employer of Defendant Lipscomb in accordance With the
provisions of the F ederal Motor Carrier Safety regulations

l4. Defendant Cecil Lipscomb Jr. failed to slow down and respond to

emergency vehicles that Were pulled to the side of Interstate 84 violently colliding

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with State Police Cruiser then striking Plaintiff Michael Carroll, who was outside the
State Police Cruiser investigating a non-related automobile accident.

15. Plaintiff Michael Carroll had arrived on scene approximately twenty to
twenty-five minutes prior to being struck by Defendant Cecil Lipscomb, Jr.

l6. During that timeframe, Plaintiff Michael Carroll interviewed various
individuals involved in the non-related automobile accident outside of his State
Police cruiser.

l7. Plaintiff Michael Carroll then had a conversation with various State
Troopers on the side of the Interstate to assess the scene.

18. Thereafter, Plaintiff Michael Carroll was violently struck by Defendant
Cecil Lipscomb, Jr. while standing near his State Police cruiser.

l9. The force of the impact caused Plaintiff Michael Carroll to be thrown
in the air, he then had to crawl to his final resting place near a guard rail on the
shoulder of Interstate 84.

20. Solely as a result of the carelessness, recklessness and negligence of
the Defendants, the Plaintiff Michael Carroll, suffered painful and permanent
injuries to his body including, but not limited to: concussion syndrome, as well as

cervical, thoracic and lumbar injuries.

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COUNT I - NEGLIGENCE
(Michael Carroll vs. Cecil Lipscomb, Jr.)

2l. The Plaintiffs incorporates paragraphs l through 20 above as fully
as if the same were set forth at length herein.

22. The collision was caused solely by the carelessness, recklessness
and negligence of the Defendant Cecil Lipscomb Jr. acting as the agent, servant and
employee of Defendant Waterman Excavating, Inc. in that Defendant Lipscomb

WaSI

a. driving the tractor trailer with willful and/ or wanton disregard of the
safety of Plaintiff in violation of 75 Pa. C.S.A. §3736;

b. driving the tractor trailer with willful and wanton disregard for safety of
Plaintiff in violation of 75 Pa. C.S.A. §3361; disregard for the safety of
other persons;

c. failing to make necessary and reasonable observations;

d. failing to have the truck under proper control;

e. being inattentive and failing to maintain a proper lookout of the road,
vehicles and conditions surrounding him;

f. failing to timely apply the brakes;
g. operating the truck without due regard for the safety of the Plaintiff;
h. violently and without warning crashing into the emergency vehicles;

i. violently and without warning striking the Plaintiff;

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j. failing to have his vehicle under his constant control so as to be able to
stop before causing injuries to any person;

k. traveling at an excess rate of speed under the circumstances;

l. in failing to take evasive action and/or failing to take appropriate and
timely evasive action in order to avoid striking Plaintiff;

m. operating the vehicle in such a reckless manner when Defendant
Lipscomb knew or should have known that do to the weather
conditions, he would have difficulty bringing his vehicle to a stop;

n. operating the tractor trailer in excess of his allotted hours pursuant to
the Federal Motor Carrier Safety Regulations;

o. operating the vehicle under the influence of alcohol and cocaine in
violation of the Federal Motor Carrier Safety Regulations;

p. failing to operate his tractor trailer unit in accordance with Federal
Motor Carrier Safety Regulations;

q. failing to properly control his trailer unit in light of the circumstances
then and there existing;

r. failing to react reasonably and appropriately under the circumstances
then and there existing;

s. violating both the written and unwritten policies, rules, guidelines and
regulations of Defendant Waterman Excavating, Inc.;

t. failing to appraise himself and/or abide by the written and unwritten
policies, procedures and/or guidelines of Defendant Waterman
Excavating, lnc.;

u. failing to appraise himself and/or abide by the Federal Motor Carrier
Safety Regulations; and

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v. failing to appraise himself and/or abide by regulations and laws
pertaining to the operation of commercial vehicles.

23. As the direct and proximate result of the carelessness, recklessness and
negligence of the Defendants, the Plaintiff Michael Carroll suffered and will
continue to suffer severe, painful and permanent injuries to his body
aforementioned

24. As a result of his injuries, Plaintiff Michael Carroll required medical
treatment and incurred medical bills for his treatment, and he will continue to require
medical treatment and incur medical bills for an indefinite period into the future.
Additionally, the Plaintiff’ s worker’s compensation carrier is exerting a lien in this
matter.

25. As a result of the Defendants’ carelessness, recklessness and negligence,
Plaintiff Michael Carroll endured pain and suffering, and she will continue to endure
pain and suffering for an indefinite time into the future.

26. As a result of the Defendants’ carelessness, recklessness and negligence,
Plaintiff Michael Carroll suffered embarrassment and humiliation, and he will
continue to suffer embarrassment and humiliation for an indefinite time into the
future.

27. As a result of the Defendants’ carelessness, recklessness and negligence,

Plaintiff Michael Carroll suffered a loss of the ability to enjoy the pleasures of life
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and he will continue to suffer a loss of ability to enjoy the pleasures life for an
indefinite time into the future.

28. As a further result of her injuries sustained, the Plaintiff Michael Carroll
has suffered wage loss, and his earning capacity will be impaired for an indefinite
time into the filture.

WHEREFORE, Plaintiff Michael Carroll demands judgment against the
Defendants in an amount in excess of the $75,000.00 jurisdictional limits for
diversity jurisdiction together with punitive damages, costs, delay damages,
prejudgment and post judgment interest as the law may allow.

COUNT II - NEGLIGENCE
(Michael Carroll vs. Waterman Excavating, Inc.)

29. The Plaintiffs incorporates by reference the allegations set forth in
paragraphs l through 28 inclusive as though the same were fully set forth at length
herein.

30. The Defendant Waterman Excavating, Inc., was careless, reckless and
negligent as follows:

a. failing to properly train its employees, including Defendant Lipscomb
prior to allowing him to operate the truck at issue;

b. failing to implement proper procedures, policies and/or safeguards to
ensure that its employees were safe and competent drivers before
entrusting its commercial vehicles to them;

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failing to properly investigate Defendant Lipscomb driving record prior
to allowing him to utilize its truck;

permitting Defendant Lipscomb to operate its truck when it knew or
should have known that he was not capable of operating the same in a
safe manner;

failing to ensure that its employees, drivers and/or agents complied with
the provisions of both the Pennsylvania Motor Vehicle Code and the
F ederal Motor Carrier Safety Regulations;

failing to ensure that its employees, drivers and/or agents were aware of
and complied with the rules, laws and regulations pertaining to and
governing the operation of commercial vehicles;

failing to monitor and/or regulate its driver’s actions;

hiring and/or continuing to employ Defendant Lipscomb despite the fact
that it knew or should have known that he was not properly qualified
and/ or trained;

failing to have policies and/or procedures in effect regarding the
operating of a tractor trailer;

failing to have policies and procedures in effect at the time of the
accident regarding safety;

failing to hold any formal safety meeting and/or safety seminars;

failing to have any means to monitor a driver’s log records including
Defendant Lipscomb;

.allowing Defendant Lipscomb to operate the tractor trailer when

Defendants knew or should have known that Defendant Lipscomb was
under the influence of cocaine and alcohol;

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n. failing to keep proper records pertaining to their driver, Defendant
Lipscomb, with respect to his motor vehicle record;

o. failing to properly investigate Defendant Lipscombs’ driving record
and/or previous experience in employment before allowing Defendant
Lipscomb to operate the tractor trailer;

p. failing to have policies and procedures implemented at the time of the
accident regarding drug and alcohol testing;

q. failing to require Defendant Lipscomb to undergo a drug and alcohol
screening at any time during his employment including after the
accident;

r. failing to have any policies and procedures regarding disciplinary action
of a driver including Defendant Lipscomb prior to the accident;

s. failing to implement the appropriate procedures and guidelines to screen
drivers to ensure they are capable of driving a tractor trailer;

t. failing to maintain any certification of violations with respect to its
drivers including Defendant Lipscomb;

u. failing to perform annual reviews with respect to its drivers including
Defendant Lipscomb;

v. failing to adopt appropriate employee manuals and/or training
procedures;

w. failing to enforce its employee manuals and/or training procedures;

x. failing to enforce both the written and unwritten policies of Defendant
Waterman Excavating, lnc.;

y. failing to have any safe policies or procedures either written or
unwritten in effect for their drivers at the time of the accident;

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z. failing to ensure that its’ employees, drivers and/or agents were aware of
and complied with the written and unwritten policies of the
Defendant Waterman Excavating, Inc.;

aa. failing to ensure that its management, personnel and drivers were
aware of the requirements and dictates of the Federal Motor Carrier
Safety Regulations and the Pennsylvania Motor Vehicle Code;

bb.failing to ensure that its employees, drivers and/or agents comply with
the provision of both the Pennsylvania Motor Vehicle Code and the
Federal Motor Carrier Safety Regulations; and

cc. failing to ensure that its employees, drivers and/or agents were aware of
and complied with rules, laws and regulations pertaining to and
governing the operation of commercial vehicles.

3l. As a direct result of the aforesaid carelessness, recklessness and
negligence, the Plaintiff Michael Carroll endured the damages and injuries set forth
above.

WHEREFORE, Plaintiff Michael Carroll demands judgment against the
Defendants in an amount in excess of the 875,000.00 jurisdictional limits for
diversity jurisdiction together with punitive damages, costs, delay damages,

prejudgment and post judgment interest as the law may allow.

COUNT III ~ LOSS OF CONSORTIUM
(Marian Carroll Vs. Waterman Excavating, Inc., And Cecil Lipscomb, Jr.)

32. The Plaintiffs incorporates by reference the allegations set forth in

paragraphs l through 28 inclusive as though the same were fully set forth at length

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herein.

33. Solely as a result of the injuries sustained by her husband, Michael
Carroll, in the subject accident, Plaintiff Marian Carroll has been deprived of care,
comfort, assistance and consortium of her husband and will continue to be deprived
of the forgoing for an indefinite period of time in the future.

WHEREFORE, Plaintiff Marian Carroll demands judgment against the
Defendants in an amount in excess of the $75,000.00 jurisdictional limits for
diversity jurisdiction together with costs, delay damages, prejudgment and post

judgment interest as the law may allow.

/s/ Brian J. Walsh

Brian J. Walsh

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Dated: NOVember 3, 2017 Attorneyfor Plaintiij

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